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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF LOUISIANA

 DR. DOROTHY NAIRNE, REV. CLEE
 EARNEST LOWE, DR. ALICE
 WASHINGTON, STEVEN HARRIS, BLACK
 VOTERS MATTER CAPACITY BUILDING
 INSTITUTE, and THE LOUISIANA STATE
 CONFERENCE OF THE NAACP,

                              Plaintiffs,            Civil Action No. 3:22-cv-00178
                                                     SDD-SDJ
 v.

 NANCY LANDRY, in her official capacity as
 Secretary of State of Louisiana,

                              Defendant.


              PLAINTIFFS’ MOTION FOR SCHEDULING CONFERENCE

       Pursuant to Local Civil Rule 7 and the Court’s February 8, 2023 Order, Plaintiffs—Dr.

Dorothy Nairne, Rev. Clee Earnest Lowe, Dr. Alice Washington, Steven Harris, Black Voters

Matter Capacity Building Institute, and Louisiana State Conference of the NAACP—respectfully

move the Court for a scheduling conference. Plaintiffs’ memorandum in support of this motion is

attached.


Date: February 12, 2024                        Respectfully submitted,


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